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  1923 Cal. Laws 695,
  696, ch. 339 §§ 2, 10
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        1923 Conn. Laws
        3707, ch. 252 § 7
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   3708                        SALE AND TTSE OP PISTOLS AND BEVOLVEBS.               [JAN.,
   CHAP. 252

                         thereof twenty-five cents, which fees shall he paid by the
                          authority issuing the same to the municipality wherein issued
                          or the state, as the case may be, and each permit issued here­
                         under shall be valid for one year from the date of issuance.
    Sales to BE MADE        SEC. 5. ISTo sale of any pistol or revolver shall be made ex-
     ill Dl&CO of DUSI-
    neas mentioned       cept in the room, store or place described in the permit for the
      n permit.          sale of pistols and revolvers, and such permit or a copy thereof
                         certified by the authority issuing the same shall be exposed to
                         view within the room, store or place where pistols or revolvers
                         shall be sold or offered or exposed for sale, and no sale or delivery
                         of any pistol or revolver shall be made unless the purchaser or
                         person to whom the same is to be delivered shall be personally
                         known to the vendor of s uch pistol or revolver or the person mak­
                         ing delivery thereof or unless the person making such purchase
                         or to whom delivery thereof is to be made shall provide evidence
    recortT of° saiePof          identity. The vendor of any pistol or revolver shall keep
    are arms.            a record of every pistol or revolver sold in a book kept for that
                         purpose, which record shall be in such form as shall be pre­
                         scribed by the superintendent of state police and shall include
                         the date of the sale, the caliber, make, model and manufacturer's
                         number of such pistol or revolver and the name, address and
                         occupation of the purchaser thereof, which record shall be
                         signed by the purchaser and by the person making the sale,
                         each in the presence of the other, and shall be preserved by the
                         vendor of such pistol or revolver for a period of at least six
                         years.
    Permit to carry         SEC. 6. Any permit for the carrying of any pistol or re-
    rerokeT8 may b° volver issued under the provisions of this act may be revoked
                         by the authority issuing the same. The revocation of either of
                         such permits shall be a revocation of the other and, upon the
                         revocation of any permit, such permit shall be forthwith deliv­
                         ered to the authority issuing the same. Upon the revocation of
                         any local permit, the authority issuing the same shall forth­
                         with notify the superintendent of state police and upon the
                         revocation of any permit issued by the superintendent of state
                         police, said superintendent shall forthwith notify the authority
                         issuing such local permit,
    sale of pistole or      SEC. 7. NO person, firm or corporation shall sell at retail,
    restricted.10 aU en> deliver or otherwise transfer any pistol or revolver to any
                         alien, nor shall any person deliver any pistol or revolver at
                         retail except upon written application therefor and no sale or
                         delivery of any pistol or revolver shall be made upon the date
                         of the filing or receipt of any written application for the pur­
                         chase thereof, and when any pistol or revolver shall be deliv­
                         ered in connection with the sale or purchase, such pistol or
                         revolver shall be enclosed in a package, the paper or wrapping
                         of which shall be securely fastened, and no pistol or revolver
                         when delivered on any sale or purchase shall be loaded or con­
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     1923.]     SALE AND USE OF PISTOLS AND KEVOLVEKS.                             3709
                                                                              CHAP. 252

     tain therein any gunpowder or other explosive or any Bullet,
     ball or shell. Upon the delivery of any pistol or revolver the
     purchaser shall sign in triplicate a receipt for such pistol or
     revolver which shall contain the name, address and occupa­
     tion of such purchaser, the date of sale, caliber, make, model
     and manufacturer's number and a general description thereof.
     One of such triplicate receipts shall, within twenty-four hours
     thereafter, be forwarded by the vendor of such pistol or revolver
     to the superintendent of state police and one to the authority
     issuing the permit for the sale of such pistol or revolver and
     the other shall he retained by such vendor for at least six
     years.
        SEC. 8. dSTo per son shall make any false statement or give        Giving of false
                                                                           information or
     any false information connected with any purchase, sale or            the sale to per­
     delivery of any pistol or revolver, and no person shall sell,         sons under eight­
                                                                           een years of age
     barter, hire, lend, give or deliver to any minor under the age        prohibited.
     of eighteen years any pistol or revolver.
        SEC. 9. No person shall carry any pistol or revolver in or         Carrying of
                                                                           pistol or revolver
     upon any vehicle or upon his person, except when such person          without permits
                                                                           restricted.
     shall be within his dwelling house or place of business, without a
     permit to carry the same issued as hereinbefore provided.
        SEC. 10. The provisions of section nine of this act shall          When and by
     not apply to the carrying of any pistol or revolver by any            whom pistols
                                                                           and revolvers
     marshal, sheriff or peace officer, or to any soldier, sailor or ma­   may be carried
                                                                           without securing
     rine in the service of the United States or this state when on duty   a permit.
     or going to or from duty, or to any member of any military
     organization when on parade or when going to or from any
     place of assembly, or to the transportation of pistols or re­
     volvers as merchandise, or to any person carrying any pistol
     or revolver while contained in the package in which it was
     originally wrapped at the time of sale and while carrying
      the same from the place of sale to the purchaser's residence
      or place of business, or to any person removing his household
      goods or effects from one place to another, or to any person
     while carrying any such pistol or revolver from his place of
      residence or business to a place or person where or by whom
     such pistol or revolver is to be repaired or while returning to
      his place of residence or business after the same shall have
     been repaired.
        SEC. 11. No person shall change, alter, remove or obliterate       Tampering with
                                                                           identification
     the name of any maker or model or any maker's number or               mark of any
                                                                           pistol or revolver
     other mark of identification on any pistol or revolver. The           prohibited.
     possession of any pistol or revolver upon which any identify­
      ing mark, number or name shall have been changed, altered,
      removed or obliterated shall be prima facie evidence that the
      person owning or in possession of such pistol or revolver has
      changed, altered, removed or obliterated the same.
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 1923 N.D. Laws 379,
     ch. 266 § 10
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         PISTOLS                    CHAPTER   266                         381




         shall    upon the application of any persons         having a bona
         fide residence or place of business within the jurisdiction       ot
         said licensing authority, or of any person having a bona
         fide residence or place of business within the United States
         and a license to carry a fire arm concealed upon his person
         issued by the authorities of any State or sub-division of the
         United States, issue a license to such person to carry a pistol or
         revolver within this State for not more than one year from date
         of issue, if it appears that the applicant has good reason to fear
         an injury to his person or property or for any other proper pur
         pose, and that he is a suitable person to be so licensed.    The li
         cense shall be in triplicate, in form to be prescrived by the Sec
         retary of State, and shall bear the name, address, description,
         and signature of the licensee and the reason given for desiring a
         license.    The original thereof shall be delivered to the licensee,
         the duplicate shall within seven days be sent by registered mail
         to the Secretary of State, and the triplicate shall be preserved
         for six years by the authority issuing said license.

              Sec. 9.   Selling to Minoks.) Any person or persons who
         shall sell, barter, hire, lend or give to any minor under the age
         of eighteen years any pistol or revolver shall be deemed guilty
         of a misdemeanor, and shall upon conviction thereof be fined not
         less than $100, nor more than $1,000, or be imprisoned not less
         than three months, nor more than one year, or both.

               Sec. 10.  Sales Regulateii.) No person shall sell, deliver,
         or otherwise transfer a pistol or revolver to a person who he has
         reasonable cause to believe either is an unnaturalized foreign
         born person or has been convicted of a felony against the person
         or property of another, or against the Government of the United
         States or any State or subdivision thereof, nor in any event shall
         he deliver a pistol or revolver on the day of the application for
         the purchase thereof, and when delivered, said pistol or revolver
         shall be securely wrapped and shall be unloaded.          Before a
         delivery be made the purchaser shall sign in triplicate and deliver
         to the seller a statement containing his full name, address, oc
         cupation,   and nationality, the date of sale, the caliber, make,
         model, and manufacturer's number of the weapon.          The seller
         shall, within seven days, sign and forward by registered mail one
         copy thereof to the Secretary of State, and one copy thereof to the
         chief of police of the city or town, or the sheriff of the county
         of which the seller is a resident, and shall retain the other copy
         for six years. This section shall not apply to sales at whole
         sale.   Where neither party to the transaction holds a dealer's li
         cense, no person shall sell or otherwise transfer a pistol or revol
         ver to any person not personally known to him. Violations of this
         section shall be punished by a fine of not less than $100 or by
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            382                          CHAPTER      266                   PISTOLS


            imprisonment for not less than      one    year,   or by both   such fine
            and imprisonment.
                 Sec. 11.  Dealers to be Licensed.)       Whoever, without be
            ing licensed as hereinafter provided, sells, or otherwise transfers,
            advertises, or exposes for sale, or transfers or has in his posses
            sion with intent to sell, or otherwise transfer, pistols or revolvers,
            shall be punished by imprisonment for not less than two years.
                Sec. 12. Dealers' Licenses:  By Whom Granted, and Con
           ditions Thereop.)   The duly constituted licensing authorities of
           any city, town or subdivision of this state, may grant licenses
           in form prescribed by the Secretary of State, effective for not
           more than one year from date of issue, permitting the licensee
           to sell at retail within the said city or town or political subdivi
           sion, pistols and revolvers, subject to the following conditions,
           for breach of any of which the license shall be subject to for
           feiture :
                  1.The business shall be carried on only in the building
           designated  in the license.
               2.   The license or a copy thereof, certified by the issuing
           authority, shall be displayed on the premises where it can easily
           be read.
                  3.   No pistol or revolver shall be delivered —
                        (a) On the day of the application for the purchase,
                           and when delivered shall be unloaded and securely
                           wrapped; nor
                        (b) Unless the purchaser either is personally known
                           to the seller or shall present clear evidence of his
                           identity; nor
                        (c) If the seller has reasonable cause to believe that
                           the purchaser either is an unnaturalized foreign born
                           person or has been convicted of a felony against the
                           person or property of another, or against the Govern
                           ment of the United States or any State or subdivision
                          thereof.
                4.   A true record, in triplicate, shall be made of every pis
           tol or revolver sold, said record to be made in a book kept for
           the purpose, the form of which may be prescribed by the Secre
           tary of State, and shall be personally signed by the purchaser
           and by the person affecting the sale, each in the presence of the
           other, and shall include the date of sale, the caliber, make, model,
           and manufacturer's number of the weapon, the name, address,
           occupation, and nationality of the purchaser.      One copy of said
           record shall, within seven days, be forwarded by registered mail
           to the Secretary of State and one copy thereof to the chief of
           police of the city or town or the sheriff of the county of which
           the seller is a resident, and the other copy retained for six years.
